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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Brenda Bevineau, Kathleen Graham,          )
Peggy Cooper, Florence Lashley,            )
Larry Guenther, Mary Sak, Edward           )
L’Abbe, and Thomas Wells, Jr.,             )
                                           )
        Plaintiffs,                        )
                                           )
        v.                                 )         No.   17 C 7340
                                           )
JH Portfolio Debt Equities, LLC, a         )         Judge Pallmeyer
California limited liability company,      )
                                           )
        Defendant.                         )


                                 NOTICE OF VOLUNTARY
                               DISMISSAL WITH PREJUDICE

        Plaintiffs, pursuant to settlement and F.R.C.P. Rule 41, hereby voluntarily

dismiss their claims against the Defendant, with prejudice.

Dated: November 30, 2017

One of Plaintiffs’ Attorneys

/s/ David J. Philipps_______
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Mary E. Philipps       (Ill. Bar No. 06197113)
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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2016, a copy of the foregoing Notice of
Voluntary Dismissal with Prejudice was filed electronically. Notice of this filing will be
sent to the following parties via U.S. Mail, first class postage pre-paid, on November 30,
2017.

Joe Rudy, Director of Litigation Management
JH Portfolio Debt Equities, LLC
5757 Phantom Drive
Suite 225
Hazelwood, Missouri 63042


/s/ David J. Philipps__________

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